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                    BEFORE THE UNITED STATES JUDICIAL PANEL
                         ON MULTIDISTRICT LITIGATION


IN RE: GOODRX AND PHARMACY
BENEFIT MANAGER ANTITRUST                              MDL No. 3148
LITIGATION (No. II)



        INTERESTED PARTY RESPONSE OF PLAINTIFF C&M PHARMACY
    IN SUPPORT OF TRANSFER TO THE CENTRAL DISTRICT OF CALIFORNIA

       Plaintiff C&M Pharmacy Inc., d/b/a Parvin’s Pharmacy & Katz Pharmacy (“C&M

Pharmacy”), respectfully submits this Response supporting in part and opposing in part the Motion

to Transfer and Centralize Related Actions for Consolidated or Coordinated Pretrial Proceedings

(“Motion”) filed by Plaintiff Grey Dog IV d/b/a Ethos Wellness Pharmacy. Doc 1.

       The case is one of many Related Actions now pending in the Central District. C&M

Pharmacy agrees with the Motion that centralization under 28 U.S.C. § 1407 is appropriate.

However, C&M Pharmacy joins with other plaintiffs in cases pending in the Central District of

California (with the exception of Grey Dog) in opposing transfer to the District of Rhode Island

or the District of Connecticut and instead supporting transfer to the Central District of California.1

See California Respondents’ Joint Response to Grey Dog’s Motion (Doc. 24); Interested Party

Response of the National Community Pharmacists Association (Doc. 70).




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  C&M Pharmacy filed its Complaint in the Central District of California on February 7, 2025. See
Doc 1, No. 2:25-cv-01099-ODW- DFMx. Other Related Actions pending in the Central District
that support transfer and consolidation in that discount are Keaveny Drug, Inc. v. GoodRx, Inc.,
No. 2:24-cv-09379; Community Care Pharmacy, LLC v. GoodRx, Inc., No. 2:24-cv-09490; Minn.
Indep. Pharms. v. GoodRx, Inc., No. 2:24-cv-10297; Philadelphia Association of Retail Druggists
v. GoodRx, Inc., No. 2:24-cv-11023; C&H Pharmacy Inc. v. GoodRx Holdings, Inc., No. 2:25-cv-
00082; Nat’l Cmty, Pharmacists Ass’n v. GoodRx, Inc., No. 2:25-cv-00585; Esco Drug Co. v.
GoodRx, Inc., No. 2:24-cv-10543; Gus’ Pharmacy, LLC d/b/a Kennedy Pharmacy v. GoodRx, Inc.,
No. 2:25-cv-0937; and NCPA v. GoodRx, Inc., et al., No. 2:25-cv-00585.
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       The Central District is the most convenient venue for the parties and witnesses, and transfer

there will ensure the just and efficient resolution of the Related Actions, in accordance with 28

U.S.C. § 1407(a). As California Respondents set forth in their Joint Response and the National

Community Pharmacists Association in their Interested Party Response, the Central District of

California is home to the first-filed Related Action, the majority of the Related Actions, has a

proven capacity to manage MDLs, and is the location of many of the key events alleged in the

GoodRx conspiracy. Doc. 24 at 5-8; 70 at 1-2. For these reasons, C&M Pharmacy joins with the

California Respondents and the National Community Pharmacists Association in supporting

transfer to the Central District of California.

       C&M Pharmacy also joins with the National Community Pharmacists Association in

opposing transfer to the Eastern District of Missouri, as Defendants urge. See Doc 66 and 70.

Defendants’ argument that one of four PBM Defendants, Express Scripts, has executed certain

pharmacy agreements specifying that the actions be tried in the Eastern District of Missouri is

irrelevant. See In re Uber Techs., Inc., Passenger Sexual Assault Litig., 734 F. Supp. 3d 934, 957

(N.D. Cal. 2024) (“forum selection clauses [are] irrelevant to [the Panel’s] transfer decisions under

Section 1407.”) The Eastern District of Missouri otherwise presents no advantages over

consolidation in the Central District of California, for the reasons argued by the National

Community Pharmacists Association. Doc 70 at 2-6.

       C&M Pharmacy’s action is pending before the Honorable Otis D. Wright II. The majority

of actions filed in the Central District of California are pending before the Honorable Sherilyn

Peace Garnett. C&M Pharmacy filed a related action notice pleading with respect to these related

actions. C&M Pharmacy joins with the other plaintiffs in these actions in supporting transfer to

the Central District of California. Should all Central District actions be consolidated before Judge



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Garnett, C&M Pharmacy respectfully submits that she would be an excellent judge to oversee this

litigation.



DATED: February 27, 2025                   Respectfully submitted,


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                                           By: /s/ Elizabeth C. Pritzker


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